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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION


UNITED STATES OF AMERICA

         vs.                        4:08CR00217-05-WRW

RAMON ARTURO MARTINEZ


                                            ORDER

         Pending is the Government’s Motion to Dismiss Indictment (doc #179) Without Prejudice.

The Motion is GRANTED, and the Indictment is dismissed as to the defendant, Ramon Arturo

Martinez, only.

         IT IS SO ORDERED this 17th day of June, 2009.




                                                          /s/Wm. R. Wilson, Jr.
                                                     UNITED STATES DISTRICT JUDGE




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